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                       UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                  Eastern Division

Kirby Smith
                          Plaintiff,
v.                                                Case No.: 1:20−cv−01166
                                                  Honorable Martha M. Pacold
Yelp, Inc.
                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 30, 2020:


         MINUTE entry before the Honorable Martha M. Pacold: The parties are directed
to file a joint status report by 7/21/2020.(rao, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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